Leif Thompson

Alaska Bar No. 1006041

Leif Thompson Law Office

306 Main Street Suite 304

Ketchikan, AK 99901

Cell phone: (907) 617-9256

Land line: (907) 24?-9256

Fax: (888) 363-1007

E-mail: leifthompson@outlook.com
Attorney for Defendant John Doe

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF ALASKA

JANE DoE,
Plaintiff,
VS.

vIGoR ALASKA LLC, and

JOHN DOE, Case No. 5:17-CV-0007-SLG
DECLARATION IN SUPPORT OF
MDTION TO COMPEL

)
)
)
)
)
)
)
)
)
)
)

Defendants.
' RELEASES OF INFORMATION

 

My name is Leif Thompson. I am the attorney for John Doe in
this matter. I have read and reviewed the allegations in the
“Statement of the Facts" portion of my motion to compel. These
statements are true and. correct to the best of` my knowledge,
information and belief.

John Doe's Declaration in Support of Motion to Compel

Doe v. ngor and Roe, Case No. 5:17~CV-OOUO7-SLG
Page 1 of 2 Paqes

Case 5:17-cV-OOOO7-SLG Document 35 Filed 02/14/18 Page 1 of 2

2/14/2018

Leif Thompson Date
Alaska Bar No. 1006041
Attorney for John Doe

 

CERTIFICATE OF SERVICE
I certify that on February 13, 2018, I E-mailed an
exact PFD copy of this pleading to Kathleen Strasbaugh,
Esq. at strasbaughlaw@qci.net and Kevin Cuddy, Esq. at

kevin.cuddy@stoel.com

2/13/2018

Leif Thompson Law Office Date

 

John Doe's Declaration in Support of Motion to Compel
Doe V. Vigor and Roe, Case NO. 5:17-CV-OUOO7-SLG
Page 2 of 2 Pages

Case 5:17-cV-OOOO7-SLG Document 35 Filed 02/14/18 Page 2 of 2

